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               IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                        SOUTHERN DIVISION

ROCKY CAMERON                                                         PETITIONER

v.                                            CRIMINAL NO. 1:12CR59-LG-RHW
                                                     CIVIL NO. 1:16CV383-LG

UNITED STATES OF AMERICA                                              RESPONDENT

     ORDER DENYING MOTION MADE PURSUANT TO 28 U.S.C. § 2255

       BEFORE THE COURT is the [353] Motion to Vacate, Set Aside or Correct a

Federal Sentence Pursuant to 28 U.S.C. § 2255 filed by Defendant Rocky Lee

Cameron. Having reviewed the submissions of the parties and the applicable law,

the Court finds that the Motion should be denied (1) because Cameron waived his

right to contest his sentence under § 2255, (2) he has not shown ineffective

assistance of counsel, and (3) Cameron’s freestanding claim of “actual innocence” is

not cognizable as a ground for relief under § 2255 in any event.

                                   BACKGROUND

        Cameron was one of a number of defendants charged in this drug conspiracy

case. He agreed to plead guilty to conspiracy to possess with intent to distribute a

controlled substance pursuant to a written plea agreement with the government.

He also agreed to waive his right to appeal his sentence or to attack his sentence

collaterally under § 2255. (See Plea Agreement, ECF No. 157). He was then

sentenced to 143 months’ imprisonment (since reduced to 116 months) and three

years’ supervised release. Although Cameron did not timely appeal his conviction,

on December 11, 2014, the Court granted in part Cameron’s [222] Motion, also filed
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pursuant to § 2255, to the extent that the Court found that Cameron was entitled to

file an out-of-time appeal. (See Order, ECF No. 278). The Court denied the Motion

without prejudice in all other respects. The Court thereafter extended Cameron’s

time to appeal once again until January 26, 2015. (See Order, ECF No. 284).

       Cameron then appealed his conviction on January 7, 2015. The Fifth Circuit

Court of Appeals ultimately dismissed the appeal on October 8, 2015. (See 5th Cir.

Op. & J., ECF Nos. 329, 330). Specifically, the Fifth Circuit found that the appeal

was “barred by the appeal waiver in Cameron’s plea agreement.” (See 5th Cir. Op.

1, ECF No. 329).

       On October 18, 2016, Cameron mailed his current Motion to the Court, which

was received on October 24, 2016. Cameron states that the two-level sentence

enhancement he received under § 2D1.1(b)(2) of the Sentencing Guidelines “is

erroneous and unfounded” and requests that the Court grant his Motion and

remove the enhancement or otherwise grant him an evidentiary hearing with

respect to the same. (Pet. Mot. 3-4, ECF No. 353). The enhancement at issue

applies if, in the course of the offense, “the defendant used violence, made a credible

threat to use violence, or directed the use of violence . . . .”

                                       DISCUSSION

       A motion made under § 2255 is subject to a one-year statute of limitations,

which, in most cases, begins to run when the defendant’s judgment of conviction

becomes final. See 28 U.S.C. § 2255(f)(1). “[F]or federal criminal defendants who do

not file a petition for certiorari with [the United States Supreme] Court on direct

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review, § 2255’s one-year limitation period starts to run when the time for seeking

such review expires.” Clay v. United States, 537 U.S. 522, 532 (2003); see also

United States v. Plascencia, 537 F.3d 385, 389 (5th Cir. 2008). Under this rule,

Cameron’s Motion was timely filed. See Clay, 537 U.S. at 532. Therefore, the Court

need not consider Cameron’s arguments that the Court should find his Motion

timely under § 2255(f)(4) or that the Court should equitably toll the one-year

limitations period. Nevertheless, the Court finds that the Motion, while timely,

should be denied for the reasons discussed below.

      Section 2255 provides four grounds for relief: (1) “that the sentence was

imposed in violation of the Constitution or laws of the United States;” (2) “that the

court was without jurisdiction to impose such sentence;” (3) “that the sentence was

in excess of the maximum authorized by law;” and (4) that the sentence is otherwise

“subject to collateral attack.” 28 U.S.C. § 2225(a). However, a defendant may, as

part of a plea agreement, waive the right to appeal and the right to seek post-

conviction relief, including relief pursuant to § 2255. See United States v. Wilkes, 20

F.3d 651, 653 (5th Cir. 1994).

Plea Waiver

      When Cameron entered his negotiated plea of guilty, he did so pursuant to a

plea agreement which contained an unambiguous waiver of his right to appeal the

sentence or contest the sentence in any post-conviction proceeding. In his rebuttal

to the Government’s response, Cameron states “that he did not realize what his

counsel was doing by having him waive his rights to file for post-conviction relief.

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He signed the documents quickly and at counsel’s direction” and he later fired his

counsel. (See Pet. Resp. 2, ECF No. 356). The Fifth Circuit has already rejected

this argument and the Court does so again here.

      Specifically, at Cameron’s plea hearing, the Court deemed Cameron

competent to enter his plea. (See Plea Tr. 3-5, ECF No. 293). Cameron then

testified under oath that no one had threatened him, forced him, or in any other

way coerced him to enter a plea of guilty. (See id. at 10). He also testified that he

was there freely and voluntarily and of his own accord, that he had discussed the

plea agreement with his lawyer, and that he had signed it.1 (See id. at 10-12). The

plea agreement was explained by the Government in open court, and thereafter

agreed to by Cameron and his counsel, including the provisions pertaining to

waiver. (See id.).

      “A defendant’s sworn statements in open court are entitled to a strong

presumption of truthfulness.” Barba-Ortiz v. United States, No. 1:12cr103-LG-

RHW-1, 2014 WL 6982606, at *2 (S.D. Miss. Dec. 9, 2014) (citing United States v.

Lampaziane, 251 F.3d 519, 524 (5th Cir. 2001)). “Moreover, the Fifth Circuit

affords ‘great weight to the defendant’s statements at the plea colloquy.’” Id. (citing

United States v. Cothran, 302 F.3d 279, 283-84 (5th Cir. 2002)). Thus, under the

circumstances presented here, the Court finds that Cameron’s guilty plea was

knowing and voluntary. See Wilkes, 20 F.3d at 653.

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       Cameron also expressed his satisfaction with counsel. (See Plea. Tr. 5, ECF
No. 293).

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Ineffective Assistance of Counsel

         Where, as here, a defendant has pleaded guilty and waived his right to

appeal or file a motion pursuant to § 2255, the only ineffective assistance of counsel

claim to survive the waiver is one claiming the ineffective assistance “directly

affected the validity of waiver or the plea itself.” United States v. White, 307 F.3d

336, 343 (5th Cir. 2002). In his response, Cameron asks the Court to construe his

Motion as including an ineffective assistance of counsel claim because his counsel

did not object to the sentencing enhancement. However, this argument addresses

counsel’s conduct after the plea agreement had already been negotiated and

executed; therefore, it is extinguished by the waiver. See United States v. Shelly,

No. 04-0062, 2007 WL 121770, at *3 (E.D. La. Jan. 16, 2007); see also, e.g., Hearn v.

United States, No. 5:04cr13-DCB, 2006 WL 1674298, at *3 (S.D. Miss. June 15,

2006).

         Regardless, the sentencing transcript shows that Cameron’s contention that

his counsel did not object to the enhancement is patently false. Cameron’s attorney

explicitly did so, required the Government to call a witness to testify regarding the

facts supporting the enhancement, and even put on his own witness, Cameron

himself. (See Sentencing Tr. 4-15, ECF No. 296). Accordingly, the Court is of the

opinion that Cameron cannot satisfy the two-prong test for ineffective assistance of

counsel set forth in Strickland v. Washington, 468 U.S. 668 (1984), even if his

ineffective assistance claim could survive his plea waiver.



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Actual Innocence

      Cameron also argues that he is actually innocent of the conduct that led to

the sentencing enhancement for use of violence, and, thus, that the Court should

remove the enhancement. In support, he attaches two affidavits to his Motion, in

which the affiants state: “It is to my understanding that Rocky Cameron has had

his federal prison sentence enhanced for allegedly threatening and beating me. I

have never been beat up nor threatened by Rocky Cameron at any time. This

enhancement is incorrect.”2 (Affs., ECF Nos. 353-1).

      Even assuming that Cameron’s claim of “actual innocence” survives his plea

waiver, “ ‘actual innocence’ is not a freestanding basis for relief under § 2255.” See

United States v. James, No. 5:11-CR-317-04, 2016 WL 2726650, at *5 (W.D. La.

May 9, 2016) (citing Foster v. Quarterman, 466 F.3d 359, 367-68 (5th Cir. 2006)); see

also United States v. Fields, 761 F.3d 443, 479 (5th Cir. 2014), as revised (Sept. 2,

2014) (“[W]e note that our caselaw does not recognize freestanding actual innocence

claims.”); United States v. Scruggs, 691 F.3d 660, 671 (5th Cir. 2012) (“ ‘Actual

innocence’ is not a free-standing ground for relief.”); McGowen v. Thaler, 675 F.3d

482, 499 (5th Cir. 2012) (the “claim of ‘actual innocence’ is not itself a constitutional

claim, but instead a gateway through which a habeas petitioner must pass to have

his otherwise barred constitutional claim considered on the merits”); Ortega v.


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         Cameron states in response that he “is innocent of the crime as well as of
the enhancement.” (Pet. Resp. 2, ECF No. 356). However, his unsupported
statement that he is innocent of the crime is conclusory and otherwise insufficient
to entitle him to any relief.

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United States, No. 2:13-CV-0095, 2015 WL 6745989, at *8 (N.D. Tex. Oct. 14, 2015),

report and rec. adopted, 2015 WL 6742099, at *1 (N.D. Tex. Nov. 2, 2015).

      Moreover, “for a defendant to demonstrate actual innocence of the sentence

imposed he would have to show that but for the [alleged] error he would not have

been legally eligible for the sentence he received.” See Smith v. Collins, 977 F.2d

951, 959 (5th Cir. 1992). Here, even if the Court had not applied the two-level

enhancement, it still could have sentenced Cameron to a maximum term of 20 years

imprisonment, well above the sentence actually imposed.

                                    CONCLUSION

      For the reasons discussed herein, the Court is of the opinion that Defendant

Cameron is not entitled to relief under 28 U.S.C. § 2255.

      IT IS THEREFORE ORDERED AND ADJUDGED that the [353] Motion

to Vacate, Set Aside or Correct a Federal Sentence Pursuant to 28 U.S.C. § 2255

filed by Defendant Rocky Lee Cameron is DENIED and this matter is

DISMISSED WITH PREJUDICE.

      SO ORDERED AND ADJUDGED this the 29th day of November, 2016.



                                              s/   Louis Guirola, Jr.
                                              LOUIS GUIROLA, JR.
                                              CHIEF U.S. DISTRICT JUDGE




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